                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                      Civil Action No. 1:18-cv-00557

SAMUEL SHAW,                       )
                                   )
                 Plaintiff,        )
                                   )
     v.                            )
                                       BRIEF IN SUPPORT OF MOTION
                                   )
                                          TO DISMISS PLAINTIFF’S
ELON UNIVERSITY,                   )
                                           AMENDED COMPLAINT
                                   )
                 Defendant.        )
                                   )
                                   )

     NOW COMES Defendant, by and through its undersigned counsel, and

hereby submits this brief in support of its Motion to Dismiss Plaintiff’s

Amended Complaint (DE 15), filed concurrently.

                      STATEMENT OF THE CASE

     Plaintiff filed this lawsuit in Alamance County Superior Court on June

8, 2018, asserting a claim for breach of contract and requesting injunctive

relief. (DE 2). On June 26, 2018, Defendant removed the case to the Middle

District of North Carolina pursuant to 28 U.S.C. 1332, 1441, and 1446. (DE

1). By consent of the parties and leave of the Court, Plaintiff filed an

Amended Complaint on September 17, 2018. (DE 14). On September 20,

2018, Defendant timely filed a Motion to Dismiss (DE 15), and hereby




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submits this brief in support.

              STATEMENT OF RELEVANT ALLEGED FACTS

      Defendant disputes the facts alleged by Plaintiff and contends that the

procedures provided to Plaintiff were fair and reasonable and applied

consistently to all students. However, for purposes of the instant motion,

Defendant must take the facts set forth below, as alleged by Plaintiff, as true.

      Plaintiff is a former student at Elon University (Amended Complaint,

DE 14 ¶ 1) and attended a campus event on October 20, 2017 (Id. ¶ 8).

Plaintiff left the event by bus and was picked up from the bus stop by Nick

Marano (“Marano”). (Id. ¶ 9). Marano received a telephone call from Mr. Nate

Joslin (“Joslin”), requesting a ride for an unidentified individual who was

“intoxicated, belligerent, and had allegedly assaulted two female students.”

(Id. ¶ 10). Plaintiff, Marano, and Mr. Andrew Dewdney (“Dewdney”) drove to

Joslin’s location and upon arrival, observed the unidentified individual

physically assault Joslin, who fell to the ground and began bleeding from the

face. (Id. ¶¶ 12-13). Plaintiff got out of Marano’s vehicle and tackled the

unidentified individual and struck him, believing him to be an imminent

threat. (Id. ¶ 14). Plaintiff recognized the unidentified individual as Mr.

Spencer Schar (“Schar”) (Id. ¶ 15). Schar was assisted to the vehicle and




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driven home. (Id. ¶ 17). A subsequent investigation by the Elon Police

Department determined that Plaintiff had acted in self-defense. (Id. ¶ 18).

       Elon University published a Student Handbook and Code of Conduct

that outlined its policies and procedures as it relates to student conduct

matters, with Section 6 outlining the Formal Conduct Procedures. (Id. ¶¶ 2,

4; see also DE 15-1, “The Honor System, Code of Conduct, and Processes”).

Subsection A states that Elon University’s handling of a potential code of

conduct    violation   should   be     “expeditious[]   and   thorough[],”   giving

consideration to all available and credible relevant information. (DE 14 ¶ 5).

Subsection E sets forth a three-step process for student conduct violations,

which includes (1) a preliminary inquiry; (2) a student conduct conference;

and (3) a formal hearing. (Id. ¶ 7).

       On October 30, 2017, Randall Williams (“Williams”), Director of

Student Conduct at Elon University, began a preliminary investigation into

Plaintiff’s actions by interviewing Schar, along with his mother. (Id. ¶¶ 21,

24). Schar did not identify Plaintiff or his involvement in the events of

October 20, 2017 at that interview. (Id. ¶ 22). On or about November 6, 2017,

Schar learned Plaintiff’s identity and provided it to Williams via email. (Id. ¶

25).




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      The preliminary inquiry begins the investigation into a Social Code of

Conduct violation and typically takes one to seven business days to complete.

(Id. ¶¶ 19-20). At the conclusion of the inquiry, the decision may be made to

move forward with the formal process by identifying possible code violations

and sending a notification to the student to meet for a student conduct

conference. (Id. ¶ 20).

      Plaintiff was notified on November 28, 2017 that Williams had set a

student conduct conference (Id. ¶ 26), which was subsequently held on

December 4, 2017 (Id. ¶ 28). At that conference, Plaintiff provided a

statement of the events of October 20, 2017. (Id. ¶ 29). Williams interviewed

Dewdney and Marano on December 7, 2017, and the two students also

provided statements of the events of the evening in question. (Id. ¶ 30).

      The purpose of the student conduct conference is to review the potential

charges and sanctions and give the student an opportunity to respond and

provide additional information necessary to determine if and what policy

violations may have occurred. (Id. ¶ 27). Potential outcomes of this conference

include “[p]ostponing and setting charges and conducting a hearing until

additional information has been gathered; [s]etting charges and engaging in a

more comprehensive investigation before scheduling a hearing; [or] [s]etting

charges and scheduling an administrative hearing…” (Id.)


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      Plaintiff was notified on December 7, 2017, that a student conduct

hearing had been set (id. ¶ 31), and the hearing was held on December 14,

2017, via telephone (id. ¶ 33).   Following the hearing, Williams completed a

case resolution form indicating that Plaintiff was “responsible for fighting or

acts of aggression and disorderly conduct.” (Id. ¶ 34). Plaintiff was notified of

these findings on the same day and was issued a disciplinary suspension for

one calendar year on the basis of “severe injuries” to Schar. (Id. ¶ 35).

      Per the Elon University Student Handbook, formal hearings are

typically held within 30 days of an incident. (Id. ¶ 32). During the hearing,

the hearing officer will ask questions regarding the incident and the student’s

behavior and will consider all credible evidence related to the charges. (Id.) If

necessary, the conclusion of the hearing may be postponed so that the

hearing officer may conduct further investigation into the matter. (Id.) A

“responsible” or “not responsible” ruling is made for each potential violation

of the code of conduct and sanctions assigned as necessary. (Id.) The hearing

officer is to consult with the dean of students prior to rendering a final

sanction of suspension or permanent separation. (Id.)

      Plaintiff appealed his suspension to the Elon University Appeal Board

on December 21, 2017, and the Board upheld the suspension. (Id. ¶ 35).




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      In his Complaint, Plaintiff alleges that his conduct file held no evidence

of the severity of Schar’s injuries, no statement from Schar regarding the

incident that is the subject of this suit, and no statements from the three

other material witnesses. (Id. ¶ 36). Plaintiff also contends that Schar

received a lesser disciplinary suspension than did Plaintiff. (Id. ¶ 37).

Plaintiff contends that these alleged procedural failures constituted a breach

of Elon’s contractual promises to him.

                                 ARGUMENT

 I.   PLAINTIFF HAS FAILED TO ESTABLISH A VALID AND
      ENFORCEABLE CONTRACT; THUS, PLAINTIFF’S BREACH OF
      CONTRACT CLAIMS SHOULD BE DISMISSED.

      To meet the elements of a prima facie breach of contract claim, a

plaintiff must establish: (1) the existence of a valid contract; and (2) a breach

of the terms of the contract. Parker v. Glosson, 182 N.C. App. 229, 232, 641

S.E.2d 735, 737 (2007). Plaintiff’s breach of contract claim fails because he

has not alleged the existence of a valid contract.

      Plaintiff alleges that, in consideration for the fees and expenses he paid

to the University, the University made specific promises to him by and

through the Student Handbook. (DE 14 ¶ 43). However, North Carolina

courts have repeatedly established that student handbooks are not contracts

in this jurisdiction.


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      A. Student Handbooks are not considered contracts under
         North Carolina law.

      In Love v. Duke Univ., 776 F. Supp. 1070, 1075 (M.D.N.C. 1991), aff'd,

959 F.2d 231 (4th Cir. 1992), the Court held that Duke University’s academic

bulletin was not a contract between students and the university. Plaintiff

alleged various claims arising out of his contention that the bulletin

constituted a binding contract. The Court rejected this argument, stating as

follows:

      The court is of the opinion that no contract existed between Love
      and Duke University. Particularly, the academic bulletin is not a
      binding contract.

Id., 776 F. Supp. at 1075. The Fourth Circuit adopted this opinion and its

reasoning in affirming the decision. 959 F.2d 231.

      Likewise, in Mercer v. Duke Univ., No. 1:97CV959 (M.D.N.C. 2000), the

Court dismissed a student's claim alleging a contract existed based on terms

in student handbooks that were not explicitly included or incorporated into a

contract. The Court analogized such claims to employment claims, in which

courts have held that handbooks are part of the contract between employer

and employee only when they are explicitly included by reference in the

employee contract. Id. (citing Black v. W. Carolina Univ., 109 N.C. App. 209,

213, 426 S.E.2d 733, 736 (1993)).



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      In Giuliani v. Duke University, No. 1:08CV502, 2010 WL 1292321

(M.D.N.C. 2010), the Court rejected a student's claim alleging that a contract

existed based upon the terms found in a student handbook, where those

terms had not been explicitly included or incorporated into a contract. 2010

WL 1292321, at *7-8. In Giuliani, the student plaintiff was indefinitely

suspended from the golf team by a new coach, which suspension was upheld

after an investigation by the university. Id. at *2. The plaintiff argued that a

contractual relationship existed between him and the University, initiated by

the prior coach’s recruitment offer, which became a binding contract once the

student agreed to attend Duke, paid tuition, and passed up opportunities at

other universities. Id. at *5. Plaintiff alleged that his student-athlete

handbooks and the Duke bulletin reflected written contract terms. Id. at *7.

However, relying upon Love and Mercer, supra, the Giuliani court held that

Plaintiff had failed to produce or allege a valid underlying contract that

expressly incorporated the terms of the University’s academic bulletin, and

that his breach of contract claims should therefore be dismissed. Id. at 8.

      Most recently, in Chandler v. Forsyth Technical Community College,

294 F. Supp. 3d 445 (M.D.N.C. 2018), the Middle District court recognized

that, under North Carolina law, a college’s policies and procedures as

outlined in student handbooks do not constitute a binding agreement


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between the college and its students, and a college’s failure to follow its

disciplinary procedures does not constitute a breach of contract. 294 F. Supp.

3d at 458-49. In that case, the Middle District held that a student must

establish a separate contract between the student and the college

incorporating the student handbook in order for the terms of the handbook to

become a binding contract. Id. The court concluded that, “Plaintiff has not

alleged a contract between herself and FTCC expressly incorporating FTCC’s

policies and procedures as outlined in the Student Academic Planner and

Handbook. Consequently, even taking reasonable inferences in Plaintiff’s

favor, the Complaint cannot be construed to allege the existence of a contract

in this case.” Id. at 459.

      Here, Plaintiff does not allege the existence of any specific writing

intended to serve as a contract that incorporated the Student Handbook by

reference. Plaintiff’s contention that the Student Handbook itself is a binding

contract is meritless and is contradicted by relevant case law. As such,

Plaintiff has failed to establish that a valid contract between himself and the

University exists, and Plaintiff’s breach of contract claims should be

dismissed.

      B. The Student Handbook does not purport to be a binding
         contract.

      The Student Handbook does not purport to be a binding agreement

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between students and the University. The Student Handbook states, in part,

as follows:

      The Student Handbook contains critical information associated
      with student conduct as well as information regarding campus
      policies and regulations. The Student Handbook also contains
      helpful information and links to information regarding campus
      resources and student life, student organizations, and campus
      events. Updates to all sections of the Student Handbook may be
      posted periodically. It is the responsibility of all Elon University
      students to become familiar with campus policies and procedures
      and to watch for updates as instructed on E-Net.

(DE 15-1 at 1)1.

      Further, in Section 6, the Formal Conduct Procedures section, the

Student Handbook states as follows:

      It should be noted that not all situations are of the same severity
      or complexity. Thus, these procedures are flexible, and are not
      exactly the same in every situation, though consistency in similar
      situations is a priority.

(Id. at 35; see also DE 14 ¶ 6).

      As set forth above, the University reserves the right to change the

terms of the Student Handbook without prior notice to students, and


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  Because Plaintiff’s breach of contract claim relies on the terms of the Student
Handbook, the Court may consider this document without converting Defendant’s
motion into one for summary judgment. Courts are permitted to consider the
written contract in a 12(b)(6) motion on a claim for breach of contract. See e.g., Erie
Ins. Exchange v. Builders Mut. Ins. Co., -- N.C. App. --, 742 S.E.2d 803, 808 (2013)
(holding that consideration of a contract that is the subject of the complaint does not
convert a Rule 12 motion into one for summary judgment). Plaintiff’s Amended
Complaint states that the Student Handbook is attached as Exhibit 1, but no
attachment was filed with Plaintiff’s Amended Complaint. (See DE 14 ¶ 2).
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specifically states that the procedures are “flexible.” It is well settled that no

contract is formed without an agreement to which at least two parties

manifest an intent to be bound. Parker v. Glosson, 182 N.C. App. 229, 232,

641 S.E.2d 735, 737 (2007). As a matter of North Carolina law, there is no

valid contract where its terms make performance optional. Bowman v. Hill,

45 N.C. App. 116, 117-18, 262 S.E.2d 376, 377 (1980). Because the University

reserves the right to update, and therefore change, the terms of the Student

Handbook at any time, and because the procedures set forth are specifically

stated to be flexible, well-established North Carolina law establishes that the

Student Handbook cannot be considered a binding contract.

      Likewise, courts in other jurisdictions have held that such a

reservation clause renders a student handbook’s obligations “too indefinite”

to constitute a binding contract. See e.g., Millien v. Colby Coll., 2005 ME 66,

874 A.2d 397, 402 (2005) (“Under Maine law, a reservation to either party of

an unlimited right to determine the nature and extent of his performance

renders his obligation too indefinite for legal enforcement, making it, as it is

termed, merely illusory. Thus, the [trial] court did not err in concluding that

the handbook was not a binding contract....”); Pacella v. Tufts Univ. Sch. of

Dental Med., 66 F. Supp. 2d 234, 241 (D. Mass. 1999) (terms of student

handbook “not contractually binding on Tufts” because university retained


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the unilateral right to make changes to its handbook without notice”); Davis

v. George Mason Univ., 395 F. Supp. 2d 331, 337 (E.D. Va. 2005)

(performance by the university per the terms of a catalog were optional

because of the catalog's disclaimer that the university may change its terms

at any time); Abbas v. Woleben, No. 3:13CV147, 2013 WL 5295672, at *4

(E.D. Va. 2013) (handbook that could be changed at any time did not

establish a contract with student dismissed for academic performance); Doe v.

Washington & Lee Univ., No. 6:14-cv-00052, 2015 WL 4647996, at *11 (W.D.

Va. 2015) (“Courts applying Virginia law routinely reject the notion that a

‘Student Handbook’ creates a mutuality of engagement where the terms of

the handbook are subject to change.”).

      Because the Student Handbook allows for updates to be made without

prior notice to students, and because the procedures set forth are flexible, it

cannot be considered a binding contract. As a result, the Student Handbook,

by its own terms, is not a contract between Plaintiff and the University and

cannot serve as the basis of Plaintiff’s breach of contract claim. As such,

Plaintiff’s breach of contract claim is subject to dismissal.




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      C. The provisions of the Student Handbook relied on by
         Plaintiff are not sufficiently definite and certain to be
         considered an enforceable contractual provision.

      Even assuming arguendo that the terms of the Student Handbook

could be considered a contract, the provisions relied on by Plaintiff are not

enforceable contractual provisions. To assert a legally enforceable contract

against a university, “the student ‘must point to an identifiable contractual

promise that the University failed to honor’ ” that can be judged objectively.

Supplee v. Miller-Motte Bus. Coll., Inc., 239 N.C. App. 208, 219, 768 S.E.2d

582, 592 (2015) (quoting Ryan v. Univ. of N. Carolina Hosps., 128 N.C. App.

300, 302, 494 S.E.2d 789, 791 (1998)). In order to be enforceable, the terms of

a contract must be “sufficiently definite in order that a court may enforce it.”

Brooks v. Hackney, 329 N.C. 166, 170, 404 S.E.2d 854, 857 (1991).

      The provisions of the Student Handbook pointed to by Plaintiff include

the following alleged provisions: “all student conduct process are conducted

with fairness to all, that potential code of conduct violations will be handled

expeditiously and thoroughly, that consideration will be given to all available

and credible evidence relevant to the case, that appropriate consideration will

be extended to all students, and that consistency in similar situations is a

priority.” (DE 14, ¶ 43). As a matter of law, such provisions are not

sufficiently definite as to establish an enforceable contractual provision. See,


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e.g., Grant v. Mount Vernon Mills, Inc., 370 S.C. 138, 634 S.E.2d 15, 21 (2006)

(holding that the policy statement of Mount Vernon to be “fair and just” did

not create enforceable contract); see also Doe v. Trs. of the Univ. of

Pennsylvania, No. CV 16-5088, 2017 WL 4049033, at *9 (E.D. Pa. 2017)

(reading requirement of “fair” hearings and investigations in student

discipline process to mean hearings and investigations that complied with the

more specific provisions of the Disciplinary Procedures concerning hearings

and investigations, and did not intend to impose additional, unspecified

“fairness” requirements); Lassiter v. Bank of N. Carolina, 146 N.C. App. 264,

269, 551 S.E.2d 920, 924 (2001) (promise to “look after” plaintiffs and make

sure work is “done right” was not sufficiently definite to constitute an

enforceable contractual provision.).

      While Elon University makes every effort to provide a fair and

thorough disciplinary process, contractual provisions promising “fairness,”

handling matters “expeditiously and thoroughly,” and extending “appropriate

consideration,” are not sufficiently definite as to establish enforceable

contractual provisions. As a result, Plaintiff’s breach of contract claims based

on these Handbook sections should be dismissed.




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                              CONCLUSION

      Because Plaintiff has failed to plead facts that would establish the

existence of a valid and enforceable contract between Plaintiff and

Defendant, which is a required element of a breach of contract claim,

Plaintiff’s Amended Complaint fails to state a claim upon which relief may be

granted. Therefore, Defendant Elon University respectfully requests that the

Court GRANT Defendant’s motion to dismiss and DISMISS Plaintiff’s

Amended Complaint with prejudice.

      This the 20th day of September, 2018.


                                CRANFILL SUMNER & HARTZOG LLP

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                       CERTIFICATE OF COMPLIANCE

      This Brief in Support complies with the word count limit set forth in

Local Rule 7.3(d). The number of words in this Brief in Support, exclusive of

the caption, signatures, and required certificates, does not exceed 6,250

words, according to the word count function of the software used to prepare

this Brief.

                                   /s/ Dan M. Hartzog Jr.
                                   DAN M. HARTZOG JR.
                                   N.C. State Bar No. 35330




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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

                              Civil Action No. 1:18-cv-557

SAMUEL SHAW,                             )
                                         )
                       Plaintiff,        )
                                         )
                                                  CERTIFICATE OF SERVICE
      v.                                 )
                                         )
ELON UNIVERSITY,                         )
                                         )
                       Defendant.        )

      I hereby certify that on September 20th, 2018, I electronically filed the

foregoing Brief in Support of Motion to Dismiss Plaintiff’s Amended

Complaint with the Clerk of Court using the CM/ECF system, and I have

served the following non-CM/ECF participant via U.S. Mail:

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